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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


                              )
NATIONAL AIR TRAFFIC          )
CONTROLLERS ASSOCIATION, AFL- )
CIO and PROFESSIONAL AIRWAYS )
SYSTEMS SPECIALISTS, AFL-CIO, )
                              )
           Plaintiffs,        )
                              )
      v.                      )                    Civil Action No. 04-0138 (RMC)
                              )
FEDERAL SERVICE IMPASSES      )
PANEL and FEDERAL LABOR       )
RELATIONS AUTHORITY           )
                              )
           Defendants.        )
                              )

                                           ORDER

                For the reasons stated in the Memorandum Opinion separately and

contemporaneously issued this 22nd day of February, 2005, it is hereby

                ORDERED that Defendants’ Motion for Summary Judgment is GRANTED; and

it is

                FURTHER ORDERED that Plaintiffs’ Motion for Summary Judgment is

DENIED; and it is

                FURTHER ORDERED that Judgment is entered in favor of Defendants and

against Plaintiffs; and it is

                FURTHER ORDERED that Plaintiffs’ Complaint is DISMISSED.

                SO ORDERED.
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Dated: February 22, 2005.                               /s/
                                         ROSEMARY M. COLLYER
                                         United States District Judge
